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                                   UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF COLORADO


  In re:
                                                          Bankruptcy Case No. 18-10965 TBM
  11380 SMITH RD LLC,
  EIN XX-XXXXXXX                                          Chapter 11

  Debtor.


                    ORDER APPROVING INTERIM ADVANCE PAYMENT PROCEDURES

        THIS MATTER is before the Court on the Motion of the debtor for an Order establishing interim
compensation procedures (the “Motion”). Notice of the Motion having been given, no party in interest
having objected thereto, and being advised in the premises,

         HEREBY FINDS cause exists for granting the Motion, and the debtor’s cash flow allows it to pay
its professionals and other potential administrative priority claimants on a monthly or other specified
interim advance basis.

           THEREFORE, THE COURT ORDERS:

           (1)   Motion is granted.
           (2)   The interim advance payment procedures established in L.B.R. 2016-2 shall apply to
                 debtor’s professionals and other potential administrative priority claimants.
           (3)   The estate’s representative is authorized to pay, and the professional may seek or accept,
                 Interim Advance Payments when and only to the extent that
                     (a) funds are available to pay all professionals and other known administrative priority
                         claimants, and
                     (b) the professional has fully complied with this Order Authorizing the Interim Advance
                         Payment Procedures, including all notice and objection provisions.
           (4)   Provided the professional complies with the provisions set forth in this Order, the
                 professional may receive 80% of the fees (with the remaining 20% referred to as the
                 “holdback”) and 100% of the expenses not subject to an unresolved objection, as provided
                 in L.B.R. 2016-2(b)(8)(D). The professional may seek authorization for payment of the
                 holdback amount as part of a subsequent formal interim fee application. To the extent any
                 fees or expenses are not approved by the Court, they must be offset against the 20%
                 holdback or be disgorged from the professional as appropriate.
           (5)   Within 14 days from the end of the monthly billing cycle for which Interim Advance Payments
                 are sought, the professional must prepare a detailed monthly statement (“Monthly
                 Statement”). If the professional fails to seek Interim Advanced Payments within 14 days,
                 then the professional must await the next monthly billing cycle to obtain payment or await
                 the formal fee application process to obtain payment. Notice must be provided to the
                 Noticed Parties described in L.B.R. 2016-2(b)(7). The Monthly Statement must comply with
                 L.B.R. 2016-1(a)(2)(B).
           (6)   Monthly Statements seeking the reimbursement of expenses must include a summary of
                 expenses by category. Whenever a person pays expenses for others, the other person
                 must be identified. It is not necessary to attach supporting documentation for expenses
                 incurred to the Monthly Statement, unless and until the expense is challenged or
                 questioned.

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      (7)  The description of any service that is confidential in nature may be redacted from the
           Monthly Statements, but professionals must endeavor to use descriptions that allow
           adequate review of their services without compromising sensitive commercial information,
           attorney work product, or other privileges. If a redacted entry is questioned, these entries
           are to be treated as an Informal Objection, as set forth in L.B.R. 2016-2(b)(8)(A). For
           allowance of the fees for the redacted entries, the professional must move to submit
           unredacted Monthly Statements to the Court under seal as part of their subsequent formal
           fee application.
      (8) To receive an Interim Advance Payment, the professional must give timely notice to the
           debtor, debtor’s attorney, the United States Trustee and, if applicable, to the chapter 11
           trustee, and the attorney for the Creditors’ Committee (or if there is no committee attorney,
           to all members of the committee), (collectively, the “Noticed Parties”) and attach a copy of
           the applicable Monthly Statement.
      (9) Objections to Monthly Statements, referred to as “Informal Objections,” must be submitted
           no later than 14 days after receiving notice of the Monthly Statement. Informal Objections
           must be submitted to the professional and Noticed Parties, and should not be filed with the
           Court. (The only objections that must be filed with the Court are objections to formal fee
           applications filed with the Court.) Informal Objections must specify the nature of the
           objection and the associated specific amount(s) within the Monthly Statement considered
           objectionable. If a professional receives an Informal Objection, then the professional may
           not seek or accept an Interim Advance Payment of any amount to which an Informal
           Objection has been lodged (and remains unresolved between the professional and objecting
           party). Instead the professional must wait to obtain payment through the formal interim or
           final fee application process or seek further order of the Court. As provided herein, the
           professional may then receive 80% of the fees and 100% of the expenses not subject to an
           unresolved objection. Failure to lodge an Informal Objection does not, by itself, constitute
           waiver of the right to object to a formal interim or final fee application. All Interim Advance
           Payments are subject to the interim and final fee applications filed with the Court pursuant to
           11 U.S.C. §§ 330 and 331, and therefore subject to disgorgement.
      (10) Parties seeking Interim Advance Payments must:
               (a) Comply with 11 U.S.C. §§ 330 and 331, L.B.R. 2016-1 and L.B.F. 2016-1.1 for
                    interim and final compensation approval;
               (b) File formal interim fee applications not more than every 120-days and at least every
                    180-days, unless otherwise ordered by the Court;
               (c) Seek final approval of all interim compensation fee applications by filing a final fee
                    application; and
               (d) When applicable, suspend seeking or accepting an Interim Advance Payment as
                    provided in L.B.R. 2016-2(c).
      (11) A professional’s authorization to seek or accept any Interim Advance Payments will be for
             120-day intervals only, beginning with the date the professional first began providing
             services after an order approving Interim Advance Payment procedures. After each 120
             day interval, the professional’s authorization to seek or accept Interim Advance Payments
             will be suspended until the professional has filed a formal application for interim or final
             compensation for all prior unapproved professional fees pursuant to 11 U.S.C. §§ 330 or
             331. Upon the filing of a formal interim fee application, the professional may seek and
             accept Interim Advance Payments, as identified herein, without further order of the Court.

                                                        BY THE COURT:
DATED March 26, 2018

                                                        _________________________________
                                                        Thomas B. McNamara,
                                                        United States Bankruptcy Judge

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